Case 19-59740-wlh   Doc 55   Filed 08/02/21 Entered 08/02/21 12:16:26   Desc Main
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                                   Document      Page 2 of 4



                          IN THE UNITED STATES BANKRUPTCY
                            NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                          |
                                                 |
 Ali-Gadson, Keidra Aiesha,                      |           Case No. 19-59740-WLH
                                                 |
                              Debtor(s).         |           Chapter 13
                                                 |

                                 CERTIFICATE OF SERVICE

        I hereby certify, under penalty of perjury that I am more than 18 years of age, and that on
this day, I served a copy of the within Debtor's Notice of Conversion upon the following in the
manner specified below, or by depositing a copy of same in U.S. Mail with sufficient postage
affixed thereon, to ensure delivery to:

Debtor: Keidra Aiesha Ali-Gadson, 1691 Tree Line Rd, Lithonia, GA 30058

Electronic Notice via ECF:

Nancy J. Whaley, Ch. 13 Trustee

Office of the United States Trustee

First Class Mail:

[See Attached Matrix]


Dated: August 2, 2021
                                                            THE PATEL LAW GROUP, LLC

                                                            /s/_____________________
                                                            Rushi Patel, Attorney for Debtor
                                                            Georgia Bar No. 791855
                                                            1995 North Park Pl., SE, Suite 565
                                                            Atlanta, Georgia 30339
                                                            (404) 490-2998
                                                            rdp@patel-legal.com
               Case 19-59740-wlh           Doc 55   Filed 08/02/21           Entered 08/02/21 12:16:26      Desc Main
Label Matrix for local noticing                Mark Document
                                                    Allan Baker        Page 3 of 4            John Robert Callison
113E-1                                         McMichael Taylor Gray, LLC                     Barrett Daffin Frappier Turner
Case 19-59740-wlh                              Suite 260                                       and Engel, LLP
Northern District of Georgia                   3550 Engineering Drive                         Suite 100, 4004 Belt Line Rd
Atlanta                                        Peachtree Corners, GA 30092-2871               Addison, TX 75001-4320
Mon Aug 2 12:11:43 EDT 2021
E. L. Clark                                    Crown Realty & Manag                           Directv, LLC
Clark & Washington, LLC                        1702 Macy Dr                                   by American InfoSource as agent
Bldg. 3                                        Roswell, GA 30076-6348                         4515 N Santa Fe Ave
3300 Northeast Expwy.                                                                         Oklahoma City, OK 73118-7901
Atlanta, GA 30341-3932

Abbey Ulsh Dreher                              (p)GEORGIA DEPARTMENT OF REVENUE               Michelle Rene Ghidotti-Gonsalves
Barrett Daffin Frappier Turner Engel LLP       COMPLIANCE DIVISION                            The Law Offices of Michelle Ghidotti
Suite 100                                      ARCS BANKRUPTCY                                1920 Old Tustin Ave.
4004 Belt Line Road                            1800 CENTURY BLVD NE SUITE 9100                Santa Ana, CA 92705-7811
Addison, TX 75001-4320                         ATLANTA GA 30345-3202

IRS                                            LaVerne Donaldson                              Brandi R. Lesesne
401 W. Peachtree St., NW                       1691 TREELINE RD                               Barrett Daffin Frappier Turner Engel LLP
Stop #334-D                                    Lithonia, GA 30058-5675                        Suite 100
Room 400                                                                                      4004 Belt Line Road
Atlanta, GA 30308                                                                             Addison, TX 75001-4320

Rushmore Loan Management Services              Santander Consumer USA                         Santander Consumer USA Inc.
PO Box 55004                                   Attn: Bankruptcy                               Reg. Agent: C T Corporation System
Irvine, CA 92619-5004                          Po Box 961245                                  289 S Culver Street
                                               Fort Worth, TX 76161-0244                      Lawrenceville, GA 30046-4805


Source Receivables Mgmt, Llc                   (p)SPRINT                                      T Mobile/T-Mobile USA Inc
Attn: Bankruptcy Dept                          C O AMERICAN INFOSOURCE                        by American InfoSource as agent
4615 Dundas Dr., Suite 102                     4515 N SANTA FE AVE                            4515 N Santa Fe Ave
Greensboro, NC 27407-1761                      OKLAHOMA CITY OK 73118-7901                    Oklahoma City, OK 73118-7901


U.S. Bank National Association                 U.S. Bank National Association,                (p)US DEPARTMENT OF HOUSING AND URBAN DEVELOP
Rushmore Loan Management Services              c/o Rushmore Loan Management Services          ATTN ROBERT ZAYAC
PO Box 55004                                   P.O. Box 52708                                 40 MARIETTA ST SUITE 300
Irvine, CA 92619-5004                          Irvine, CA 92619-2708                          ATLANTA GA 30303-2812


United States Attorney                         WESTLAKE FINANCIAL SERVICES                    Wells Fargo Bank, N.A.
Northern District of Georgia                   4751 WILSHIRE BLVD                             DFLT Doc Processing N9286-01Y
75 Ted Turner Drive SW, Suite 600              SUITE 100                                      1000 Blue Gentian Road
Atlanta GA 30303-3309                          LOS ANGELES CA 90010-3847                      Eagan, MN 55121-7700


Wells Fargo Bank, N.A.                         Wells Fargo Dealer Services                    Wells Fargo Home Mortgage
Timothy J. Sloan, CEO                          Attn: Bankruptcy                               Attn: Bankruptcy Dept
101 N. Phillips Avenue                         Po Box 19657                                   P.O. Box 10335
Sioux Falls, SD 57104-6714                     Irvine, CA 92623-9657                          Des Moines, IA 50306-0335


Westlake Financial Services
Attn: Bankruptcy
Po Box 76809
Los Angeles, CA 90076-0809
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                                                         Document      Page 4 of 4
                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Georgia Department of Revenue                        Sprint Corp                                          U.S. Department of Housing & Urban
Compliance Division                                  Attention Bankruptcy                                 Development
ARCS Bankruptcy                                      PO Box 7949                                          451 Seventh St SW
1800 Century BLVD NE Suite 9100                      Overland Park, KS 66207-0949                         Washington, DC 20410
Atlanta, GA 30345-3202

(d)U.S. Department of Housing and Urban Devel        End of Label Matrix
451 7th Street S.W.                                  Mailable recipients    27
Washington, DC 20410                                 Bypassed recipients     0
                                                     Total                  27
